712 F.2d 60
    36 Fair Empl.Prac.Cas. (BNA) 1542,38 Empl. Prac. Dec. P 35,602Shirley BROWN and Dorothy Black, et al., Appellees,v.ECKERD DRUGS, INC., a corporation now merged with JackEckerd Corporation, etc., et al., Appellants.
    No. 79-1821.
    United States Court of Appeals,Fourth Circuit.
    Aug. 31, 1982.
    
      ORDER
      MURNAGHAN, Circuit Judge.
    
    
      1
      The Supreme Court's order, 457 U.S. 1128, 102 S.Ct. 2952, 73 L.Ed.2d 1345, having vacated the judgment of this court, 663 F.2d 1268, with costs,
    
    
      2
      IT IS ORDERED that the judgment of the district court is vacated and that the cause is remanded to the United States District Court for the Western District of North Carolina, for further consideration in light of  General Telephone Co. of the Southwest v. Falcon, 457 U.S. 147, 102 S.Ct. 2364, 72 L.Ed.2d 740 (1982).
    
    
      3
      With the concurrences of BUTZNER and DONALD RUSSELL, Circuit Judges.
    
    